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                                            420         20th Street North, Suite 3400
                                            aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!
                                            Pwodgt!    Uvtggv!
                                             Birmingham
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                                                                                                  aaaaaaaaaaaa!  35203
                                                                                                                aaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!
                                            Ekv{!                                                 Uvcvg!        \KR!Eqfg!!

                                             (205) 251-3000
                                            aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!!                            dmeek@burr.com
                                                                                                            !aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!
                                            Eqpvcev!rjqpg!!                                                 Gockn!cfftguu!



                                             ASB-7723-M74D                                          Alabama
                                            aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!aaaaaaaaaaaa!
                                            Dct!pwodgt!                                            Uvcvg!




!!!Qhhkekcn!Hqto!312!                       Xqnwpvct{!Rgvkvkqp!hqt!Pqp.Kpfkxkfwcnu!Hknkpi!hqt!Dcpmtwrve{!                              rcig!6!
          Case 20-81688-CRJ11               Doc 1      Filed 07/27/20 Entered 07/27/20 20:54:48                                 Desc Main
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                                            SCHEDULE 1

                 Pending Bankruptcy Cases Filed by the Debtors in this Court

          On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”)
 filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code, in the United States
 Bankruptcy Court for the Northern District of Alabama. Contemporaneously herewith, the Debtors
 are filing a motion requesting the joint administration of these chapter 11 cases for procedural
 purposes only under the case number assigned to Remington Outdoor Company, Inc.

            1. 32E Productions, LLC
            2. Barnes Bullets, LLC
            3. FGI Finance Inc.
            4. FGI Holding Company, LLC
            5. FGI Operating Company, LLC
            6. Great Outdoors Holdco, LLC
            7. Huntsville Holdings LLC
            8. Outdoor Services, LLC
            9. RA Brands, L.L.C
            10. Remington Arms Company, LLC
            11. Remington Arms Distribution Company, LLC
            12. Remington Outdoor Company, Inc.
            13. TMRI, Inc.




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                                     RESOLUTIONS
                            OF THE BOARD OF DIRECTORS OF
                          REMINGTON OUTDOOR COMPANY, INC.
                                  a Delaware corporation

        The members of the board of directors (collectively, the “Board”) of Remington Outdoor
 Company, Inc., a Delaware corporation (the “Company”), hereby take the following actions and
 consent to the adoption of the following preambles and resolutions (these “Resolutions”).

         WHEREAS, on April 7, 2020, the Board designated a restructuring committee consisting
 of independent and disinterested directors of the Board (the “Restructuring Committee”) to
 consider, evaluate and negotiate strategic and/or financial alternatives for the Company, including
 the possibilities of seeking alternative financing, or undertaking a sale, restructuring,
 reorganization, or other recapitalization transaction and related financing involving the Company
 and/or one or more of its direct and indirect subsidiaries, and taking certain other actions with
 respect thereto;

        WHEREAS, the Restructuring Committee reviewed the performance and results of the
 Company, the market in which the Company operates, its current and future liquidity needs, its
 business prospects, and its current and long-term liabilities;

         WHEREAS, the Restructuring Committee has reviewed the materials presented by its
 financial, legal, and other advisors and have engaged in numerous and extensive discussions
 (including, without limitation, with its management and such advisors) regarding, and has had the
 opportunity to fully consider, the Company’s financial condition, including its liabilities and
 liquidity position, the strategic alternatives available to it, and the impact of the foregoing on the
 Company’s businesses and operations;

         WHEREAS, the Restructuring Committee, in consultation with the Company’s financial,
 legal, and other advisors, determined that it was in the best interests of the Company to explore a
 potential sale of its various business units to one or more potential bidders (the “Sale Transaction”);
 and

         WHEREAS, on July 26, 2020, the Restructuring Committee, in consultation with the
 Company’s financial, legal, and other advisors, and in consideration of all the applicable facts and
 circumstances recommended to the Board, and the Board has determined that it is desirable and in
 the best interests of the Company and its creditors, equity holders, employees, and other parties in
 interest that the Company file or cause to be filed a voluntary petition seeking relief under the
 provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 et seq.
 (the “Bankruptcy Code”).

 I.     Chapter 11 Case

         NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it is
 desirable and in the best interests of the Company, its creditors, and other parties in interest, that
 the Company shall be and hereby is authorized to file or cause to be filed a voluntary petition for
 relief under the provisions of chapter 11 of the Bankruptcy Code in the United States Bankruptcy




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 Court for the Northern District of Alabama (the “Bankruptcy Court”) or other court of competent
 jurisdiction.

         RESOLVED FURTHER, that any one or more officers of the Company (each an
 “Authorized Person” and collectively, the “Authorized Persons”) are authorized, empowered, and
 directed, in the name and on behalf of the Company, to execute and verify all petitions under
 chapter 11 of the Bankruptcy Code and to cause the same to be filed in the Bankruptcy Court and
 to commence any ancillary or related proceedings as may be necessary or appropriate to effectuate
 the restructuring of the Company and to execute, verify, and cause to be filed all documents in
 furtherance thereof, at such time as such Authorized Person executing the same shall determine.

         RESOLVED FURTHER, that each Authorized Person is authorized, empowered, and
 directed, in the name and on behalf of the Company, to negotiate, enter into, execute, deliver,
 certify, file, record, and perform, or cause to be negotiated, entered into, executed, delivered,
 certified, filed, recorded, and performed, any and all petitions, schedules, lists, motions,
 certifications, agreements, instruments, affidavits, acknowledgments, applications, including,
 without limitation, applications for approvals or rulings of governmental or regulatory authorities,
 pleadings, or other documents and to take, or cause to be taken, such other actions, as in the
 judgment of such Authorized Person shall be or become necessary, advisable, proper, or desirable
 in connection with the Company’s chapter 11 case, such Authorized Person’s performance of any
 such act and his or her execution and delivery of any such document, agreement, or instrument to
 be conclusive evidence of the Authorized Person’s approval thereof.

 II.    Cash Collateral

        RESOLVED FURTHER, that the Company, as a debtor and debtor in possession under
 the Bankruptcy Code, be authorized, empowered, and directed to negotiate and obtain the use of
 cash collateral or other similar arrangements, including, without limitation, to enter into any
 guarantees and to pledge and grant liens on and claims against the Company’s assets as may be
 contemplated by or required under the terms of cash collateral agreements or other similar
 arrangements, in such amounts as is reasonably necessary for the continuing conduct of the affairs
 of the Company in its chapter 11 case and any of the Company’s affiliates who may also,
 concurrently with the Company’s petition, file for relief under the Bankruptcy Code.

 III.   Sale Process and Bidding Procedures

         RESOLVED FURTHER, that in the judgment of the Board, it is desirable and in the best
 interests of the Company, its creditors, and other parties in interest, and the Company be and it
 hereby is authorized to (i) file the motion (the “Sale Motion”) with the Bankruptcy Court to
 request, among other things, the Bankruptcy Court’s approval of (a) the Sale Transaction, (b) the
 commencement of a marketing and sale process in the chapter 11 case for the Sale Transaction
 (the “Sale Process”), and (c) the bidding procedures associated with the Sale Process, which are
 attached to the Sale Motion (such bidding procedures, in the form approved by the Bankruptcy
 Court, the “Bidding Procedures”) and (ii) commence and implement the Sale Process.

         RESOLVED FURTHER, that the Authorized Persons, and any employees or agents
 (including counsel) designated by or directed by any such officers, be, and each of them hereby is,


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 authorized, empowered, and directed, in the name and on behalf of the Company, to take any and
 all other actions as they may deem necessary or advisable to (i) file the Sale Motion with the
 Bankruptcy Court, (ii) commence and implement the Sale Process as contemplated in the Bidding
 Procedures, (iii) grant access to due diligence materials and other confidential information
 regarding the assets of the Company and the applicable subsidiaries to participants in the Sale
 Process in accordance with the Bidding Procedures, and (iv) in connection with the access
 mentioned above, negotiate and execute non-disclosure agreements between the Company, its
 subsidiaries, and the participants in the Sale Process protecting the confidentiality of certain due
 diligence materials and other confidential information.

         RESOLVED FURTHER, that the Authorized Persons, and any employees or agents
 (including counsel) designated by or directed by any such officers be, and each of them hereby is,
 authorized, empowered and directed, in the name of and on behalf of the Company, to take any
 and all other actions as they may deem necessary or advisable to, in the Company’s capacity as
 stockholder, shareholder, trustee, equity holder, managing member, sole member, general partner,
 limited partner, or member of any of its subsidiaries and/or other entities that are debtors in the
 chapter 11 cases and that will take part in the Sale Process, to cause such subsidiaries and/or other
 entities to execute, to deliver and to perform any of the actions contemplated with respect to the
 Sale Process, the Bidding Procedures, and these resolutions or the transactions contemplated
 hereby.

 IV.    Retention of Advisors

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
 authorized, empowered, and directed, in the name of and on behalf of the Company, to employ
 the law firm of O’Melveny & Myers LLP as general bankruptcy counsel to represent and advise
 the Company in carrying out its duties under the Bankruptcy Code, and to take any and all
 actions to advance its rights and obligations, including filing any pleadings in connection with
 the chapter 11 case and with any post-petition financing; and in connection therewith, the
 Authorized Persons are hereby authorized, empowered, and directed to execute appropriate
 retention agreements, pay appropriate retainers prior to and immediately upon filing of the
 chapter 11 case, and cause to be executed and filed an appropriate application with the
 bankruptcy court for authority to retain the services of O’Melveny & Myers LLP.

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
 authorized, empowered, and directed, in the name of and on behalf of the Company, to employ
 the firm of Burr & Forman LLP as local counsel to represent and advise the Company in
 carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
 its rights and obligations in connection with the chapter 11 case and with any post-petition
 financing; and in connection therewith, the Authorized Persons are hereby authorized,
 empowered, and directed to execute appropriate retention agreements, pay appropriate
 retainers prior to and immediately upon the filing of the chapter 11 case, and cause to be
 executed and filed an appropriate application with the bankruptcy court for authority to retain
 the services of Burr & Forman LLP.

        RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
 authorized, empowered and directed, in the name of and on behalf of the Company, to (i) employ


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 the law firm of Akin Gump Strauss Hauer & Feld LLP, to represent and assist the Restructuring
 Committee in matters delegated to the Restructuring Committee in carrying out its duties, and
 (ii) to compensate Akin Gump Strauss Hauer & Feld LLP, as counsel to the Restructuring
 Committee, for its fees and expenses incurred in connection therewith; and, in connection
 therewith, the Authorized Persons are hereby authorized, empowered, and directed to execute
 appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
 filing of the chapter 11 case, and cause to be executed and filed an appropriate application or
 motion with the Bankruptcy Court for authority to either (i) retain, on behalf of the Restructuring
 Committee, the services of Akin Gump Strauss Hauer & Feld LLP or (ii) pay the fees and expenses
 of Akin Gump Strauss Hauer & Feld LLP in connection with its fees and expenses incurred in its
 representation of the Restructuring Committee.

         RESOLVED FURTHER, that that the Authorized Persons be, and each of them hereby
 is, authorized, empowered, and directed, in the name of and on behalf of the Company, to
 employ the firm of M-III Advisory Partners, LP as financial advisor to represent and assist
 the Company in carrying out its duties under the Bankruptcy Code, and to take any and all
 actions to advance its rights and obligations in connection with the chapter 11 case and with
 any post-petition financing; and in connection therewith, the Authorized Persons are hereby
 authorized, empowered, and directed to execute appropriate retention agreements, pay
 appropriate retainers prior to and immediately upon the filing of the chapter 11 case, and cause
 to be executed and filed an appropriate application with the bankruptcy court for authority to
 retain the services of M-III Advisory Partners, LP.

         RESOLVED FURTHER, that that the Authorized Persons be, and each of them hereby
 is, authorized, empowered, and directed, in the name of and on behalf of the Company, to
 employ the firm of Ducera Partners LLC and, where appropriate, its affiliates including
 Ducera Securities LLC (“Ducera”) as investment banker to represent and assist the Company
 in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
 its rights and obligations in connection with the chapter 11 case and with any post-petition
 financing; and in connection therewith, the Authorized Persons are hereby authorized,
 empowered, and directed to execute appropriate retention agreements, pay appropriate
 retainers prior to and immediately upon the filing of the chapter 11 case, and cause to be
 executed and filed an appropriate application with the bankruptcy court for authority to retain
 the services of Ducera.

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
 authorized, empowered, and directed, in the name of and on behalf of the Company, to employ
 the firm of Prime Clerk LLC as notice, claims, and balloting agent to assist the Company in
 carrying out its duties under the Bankruptcy Code; and in connection therewith, the
 Authorized Persons are hereby authorized, empowered, and directed to execute appropriate
 retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
 chapter 11 case, and cause to be executed and filed an appropriate application with the
 bankruptcy court for authority to retain the services of Prime Clerk LLC.

        RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
 authorized, empowered, and directed, in the name of and on behalf of the Company, to employ
 any other professionals, including attorneys, accountants, financial advisors, investment bankers,


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 and tax advisors, necessary to assist the Company in carrying out its duties under the Bankruptcy
 Code; and in connection therewith, the Authorized Persons are hereby authorized, empowered,
 and directed to execute appropriate retention agreements, pay appropriate retainers prior to or
 immediately upon the filing of the chapter 11 case, and cause to be executed and filed appropriate
 applications with the bankruptcy court for authority to retain the services of any other
 professionals, as necessary.

 V.     Other Authorizations and Ratification

         RESOLVED FURTHER, that the Authorized Persons, and any employees or agents
 (including counsel) designated by or directed by any such officers be, and each of them hereby is,
 authorized, empowered, and directed, in the name of and on behalf of the Company, to take any
 and all other actions as they may deem necessary or advisable to, in the Company’s capacity as
 stockholder, shareholder, trustee, equity holder, managing member, sole member, general partner,
 limited partner, or member of any of its subsidiaries and/or other entities that are debtors in the
 chapter 11 cases, to cause such subsidiaries and/or other entities to execute, deliver, and perform
 any of the actions contemplated with respect to the chapter 11 cases and these resolutions or the
 transactions contemplated hereby.

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
 authorized, empowered, and directed, in the name and on behalf of the Company, to cause the
 Company to enter into, execute, deliver, certify, file, and/or record and perform such
 agreements, instruments, motions, affidavits, applications for approvals or ruling of
 governmental or regulatory authorities, certificates or other documents, and to take such other
 action, as in the judgment of such officer shall be or become necessary, proper, or desirable to
 prosecute to a successful completion of the chapter 11 case, including implementing the
 foregoing Resolutions and the transactions contemplated by these Resolutions.

        RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
 authorized, empowered, and directed, in the name and on behalf of the Company, to amend,
 supplement, or otherwise modify from time to time the terms of any documents, certificates,
 instruments, agreements, or other writings referred to in the foregoing Resolutions.

         RESOLVED FURTHER, that the omission from these Resolutions of any agreement,
 document, or other arrangement contemplated by any of the agreements, documents, or
 instruments described in the foregoing Resolutions or any action to be taken in accordance with
 any requirement of any of the agreements, documents, or instruments described in the foregoing
 Resolutions shall in no manner derogate from the authority of the Authorized Persons to take all
 actions necessary, desirable, advisable, or appropriate to consummate, effectuate, carry out, or
 further the transactions contemplated by, and the intent and purposes of, the foregoing Resolutions.

         RESOLVED FURTHER, that all lawful acts, actions, and transactions relating to the
 matters contemplated by the foregoing Resolutions done by any Authorized Person or any
 director, employee, legal counsel, or other representative of or advisor to the Company, in the
 name and on behalf of the Company, which acts would have been approved by the foregoing
 Resolutions except that such acts were taken before these Resolutions were certified, are
 hereby in all respects approved and ratified.


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         RESOLVED FURTHER, that in connection with the transactions contemplated by the
 foregoing Resolutions, the Secretary and any Assistant Secretary of the Company be, and each of
 them individually hereby is, authorized in the name and on behalf of the Company, to certify any
 more formal or detailed resolutions as such Authorized Person may deem necessary, appropriate,
 or desirable to effectuate the intent of the foregoing Resolutions; and that thereupon such
 resolutions shall be deemed adopted as and for the resolutions of the Board as if set forth at length
 herein.




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                                          CERTIFICATE

 Date: July 26 , 2020

      I, Melissa Cofield, the Vice President and Corporate Secretary of Remington Outdoor
 Company, Inc., a corporation organized and existing under the laws of the State of Delaware (the
 “Company”) hereby certifies as follows:

       1.      I am familiar with the facts herein certified, and I am duly authorized to certify the
 same on behalf of the Company.

         2.   Attached hereto is a true and correct copy of the resolutions of the board of directors
 of the Company (the “Board”), without exhibits, duly adopted at a meeting of the Board on July
 26, 2020.

         3.      Such resolutions have not been amended, altered, annulled, rescinded, or revoked,
 and are in full force and effect as of the date hereof. There exists no other subsequent resolution
 of the Board relating to the matters set forth in the resolutions attached hereto.

         IN WITNESS WHEREOF, the undersigned has executed this certificate as of the date
 first written below.



                                               By:

                                               Name: Melissa Cofield
                                               Title: Vice President and Corporate Secretary




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B2030 (Form 2030) (12/15)
                                                       United States Bankruptcy Court
                                                             Northern District of Alabama
In re         Remington Outdoor Company, Inc.                                                              Case No.
                                                                            Debtor(s)                      Chapter       11

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
        paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
        behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

               For legal services, I have agreed to accept                                             $                                   Hourly Rates

               Prior to the filing of this statement I have received                                   $                             Please refer to the
                                                                                                                                   Retention Application

               Balance Due                                                                             $                                            0.00

2.      The source of the compensation paid to me was:
               Debtor             Other (specify):         Affiliated Debtor.

3.      The source of compensation to be paid to me is:
               Debtor             Other (specify):         Affiliated Debtor.

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
         I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
              copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
        a.    Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
        b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
        c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
        d.    [Other provisions as needed]
                  As set forth in the Debtors’ Application for Interim and Final Orders Authorizing Retention and Employment of
                  Burr & Forman LLP as Counsel for Debtors and Debtors In Possession (the “Retention Application”), filed
                  concurrently herewith.

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                 As set forth in the Retention Application.

                                                                       CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
 debtor(s) in this bankruptcy proceeding.
 July 27, 2020                                                                    /s/ Derek F. Meek
 Date                                                                             Derek F. Meek
                                                                                  Signature of Attorney
                                                                                  Burr & Forman LLP
                                                                                  420 North 20th Street, Suite 3400
                                                                                  Birmingham, AL 35203
                                                                                  (205) 251-3000 Fax: (205) 458-5100
                                                                                  dmeek@burr.com
                                                                                  Name of law firm




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B2030 (Form 2030) (12/15)
                                                       United States Bankruptcy Court
                                                             Northern District of Alabama
In re         Remington Outdoor Company, Inc.                                                              Case No.
                                                                            Debtor(s)                      Chapter       11

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
        paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
        behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

               For legal services, I have agreed to accept                                             $                                    Hourly Rates

               Prior to the filing of this statement I have received                                   $                             Please refer to the
                                                                                                                                   Retention Application

               Balance Due                                                                             $                                              0.00

2.      The source of the compensation paid to me was:
               Debtor             Other (specify):         Affiliated Debtor.

3.      The source of compensation to be paid to me is:
               Debtor             Other (specify):         Affiliated Debtor.

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
         I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
              copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
        a.    Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
        b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
        c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
        d.    [Other provisions as needed]
                  As set forth in the Debtor’ Application for Entry of Interim and Final Orders Authorizing the Employment and
                  Retention of O’Melveny & Myers LLP as Attorneys for the Debtors (the “Retention Application”), filed
                  concurrently herewith.

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                 As set forth in the Retention Application.

                                                                       CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
 debtor(s) in this bankruptcy proceeding.
 July 27, 2020                                                                    /s/ Stephen H. Warren
 Date                                                                             Stephen H. Warren
                                                                                  Signature of Attorney
                                                                                  O’Melveny & Myers LLP
                                                                                  400 S. Hope Street
                                                                                  Los Angeles, CA 90071
                                                                                  (213) 430-6000 Fax: (213) 430-6407
                                                                                  swarren@omm.com
                                                                                  Name of law firm




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                             UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION


 In re:                                                       Chapter 11

 REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-___________(       )

                                  Debtor.


                                 LIST OF EQUITY SECURITY HOLDERS

         Pursuant to Bankruptcy Rule 1007(a)(3), the following is a list of entities holding an
 interest in the above-captioned debtor.

   Name of Equity Security                    Mailing Address of Equity Security    Number of Equity
           Holder                                         Holder                       Securities1
 CEDE & CO (FAST                           CEDE & CO                               11,387,029
 ACCOUNT)                                  PO BOX 20
                                           BOWLING GREEN STATION
                                           NEW YORK, NY 10004-1408
 SCHULTZE MASTER FUND                      SCHULTZE MASTER FUND LTD                492,409
 LTD                                       800 WESTCHESTER AVENUE
                                           SUITE S-632
                                           PORT CHESTER, NY 10573
 ANTORA PEAK CREDIT                        ANTORA PEAK CREDIT                      350,052
 OPPORTUNITIES                             OPPORTUNITIES FUND LP
                                           C/O CONSTELLATION ADVISERS LLC
                                           1212 AVENUE OF AMERICAS
                                           6TH FLOOR
                                           NEW YORK, NY 10036
 BMR FUNDING LLC                           BMR FUNDING LLC                         299,957
                                           TWO GREENWICH PLAZA
                                           1ST FLOOR
                                           GREENWICH, CT 06830-6353
 WHITEBOX ASYMMETRIC                       WHITEBOX ASYMMETRIC PARTNERS            127,730
 PARTNERS, L.P.                            LP
                                           3033 EXCELSIOR BLVD
                                           SUITE 300
                                           MINNEAPOLIS, MN 55416
 WHITEBOX MULTI                            WHITEBOX MULTI STRATEGY                 127,582
 STRATEGY PARTNERS LP                      PARTNERS LP
                                           3033 EXCELSIOR BLVD
                                           SUITE 300
                                           MINNEAPOLIS, MN 55416-4675


 1
     All equity securities are designated as common shares.


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    Name of Equity Security        Mailing Address of Equity Security    Number of Equity
            Holder                             Holder                       Securities1
 JNL SERIES TR - JNL/PPM       JNL SERIES TR - JNL/PPM AMERICA          56,543
 AMERICA                       FLOATING RATE INCOME FD UA
                               7/28/2000
                               225 WEST WACKER DRIVE
                               CHICAGO, IL 60606-1224
 ROCKWALL CDO II, LTD.         ROCKWALL CDO II, LTD.                    56,429
                               300 CRESCENT COURT
                               SUITE 700
                               DALLAS, TX 75201-7849
                               ATTN: CARTER CHISM
 GREENBRIAR CLO, LTD           GREENBRIAR CLO, LTD                      54,704
                               300 CRESCENT COURT
                               SUITE 700
                               DALLAS, TX 75201-7849
                               ATTN: CARTER CHISM
 SG-FINANCIAL LLC              SG-FINANCIAL LLC                         49,210
                               PO BOX 3417
                               LITTLE ROCK, AR 72203-3417
 W.R. STEPHENS JR. TRUST A     W.R. STEPHENS JR. TRUST A, UA            49,210
                               5/3/99
                               PO BOX 3417
                               LITTLE ROCK, AR 72203-3417
 EASTLAND CLO, LTD             EASTLAND CLO, LTD                        37,619
                               300 CRESCENT COURT
                               SUITE 700
                               DALLAS, TX 75201-7849
                               ATTN: CARTER CHISM
 JMP CREDIT ADVISORS CLO       JMP CREDIT ADVISORS CLO IV LTD.          19,184
 IV LTD.                       3440 PRESTON RIDGE ROAD
                               SUITE 350
                               ALPHARETTA, GA 30005
 STRATFORD CLO LTD             STRATFORD CLO LTD                        18,810
                               300 CRESCENT COURT
                               SUITE 700
                               DALLAS, TX 75201-7849
                               ATTN: CARTER CHISM
 WESTCHESTER CLO, LTD.         WESTCHESTER CLO, LTD.                    18,810
                               300 CRESCENT COURT
                               SUITE 700
                               DALLAS, TX 75201-7849
                               ATTN: CARTER CHISM
 JMP CREDIT ADVISORS CLO       JMP CREDIT ADVISORS CLO III(R)           18,662
 III(R) LTD                    LTD
                               3440 PRESTON RIDGE ROAD
                               SUITE 350
                               ALPHARETTA, GA 30005




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    Name of Equity Security       Mailing Address of Equity Security    Number of Equity
            Holder                            Holder                       Securities1
 WHITEBOX MULTI-               WHITEBOX MULTI-STRATEGY                 14,305
 STRATEGY PARTNERS LP          PARTNERS LP
                               3033 EXCELSIOR BLVD
                               SUITE 300
                               MINNEAPOLIS, MN 55416-4675
 VOYA CLO 2015-1, LTD.         VOYA CLO 2015-1, LTD.                   12,373
                               7337 E. DOUBLETREE RANCH ROAD
                               SUITE 10
                               SCOTTSDALE, AZ 85258
 WHITEBOX ASYMMETRIC           WHITEBOX ASYMMETRIC PARTNERS            12,086
 PARTNERS LP                   LP
                               3033 EXCELSIOR BLVD
                               SUITE 300
                               MINNEAPOLIS, MN 55416-4675
 VOYA CLO 2014-4, LTD.         VOYA CLO 2014-4, LTD.                   10,705
                               7337 E. DOUBLETREE RANCH ROAD
                               SUITE 10
                               SCOTTSDALE, AZ 85258
 VOYA CLO 2014-2, LTD.         VOYA CLO 2014-2, LTD.                   10,619
                               7337 E. DOUBLETREE RANCH ROAD
                               SUITE 10
                               SCOTTSDALE, AZ 85258
 VOYA CLO 2013-3, LTD.         VOYA CLO 2013-3, LTD.                   10,455
                               7337 E. DOUBLETREE RANCH ROAD
                               SUITE 10
                               SCOTTSDALE, AZ 85258
 VOYA CLO 2013-1, LTD.         VOYA CLO 2013-1, LTD.                   10,416
                               7337 E. DOUBLETREE RANCH ROAD
                               SUITE 10
                               SCOTTSDALE, AZ 85258
 EASTSPRING INVESTMENTS        EASTSPRING INVESTMENTS US BANK          9,842
 US BANK LOAN                  LOAN SPECIAL ASSET MOTHER INV
                               TR UA 5/26/14
                               225 WEST WACKER DRIVE
                               CHICAGO, IL 60606
 PPM GRAYHAWK CLO, LTD         PPM GRAYHAWK CLO, LTD                   9,405
                               225 WEST WACKER DRIVE
                               CHICAGO, IL 60606
 COMMONWEALTH FIXED            COMMONWEALTH FIXED INTEREST             6,114
 INTEREST FUND 17              FUND 17
                               ONE FRANKLIN PARKWAY
                               SAN MATEO, CA 94403-1906
 NATIONAL RAILROAD             NATIONAL RAILROAD RETIREMENT            2,063
 RETIREMENT                    INVESTMENT TRUST
                               309 WEST 49TH ST
                               19TH FL
                               NEW YORK, NY 10019-7316




                                                                                 Page 3

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   Name of Equity Security      Mailing Address of Equity Security    Number of Equity
           Holder                           Holder                      Securities1
 CANTOR FITZGERALD & CO      CANTOR FITZGERALD & CO                  2
                             900 WEST TRADE STREET
                             SUITE 725
                             CHARLOTTE, NC 28202




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Fill in this information to identify the case and this filing:

Debtor Name Remington Outdoor Company, Inc.

United States Bankruptcy Court for the Northern District of Alabama

Case number (if known): ________



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign
and submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not
included in the document, and any amendments of those documents. This form must state the individual's position or
relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


             Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized
         agent of the partnership, or another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the
         information is true and correct:

         □        Schedule A/8: Assets-Real and Personal Property (Official Form 206NB)

         □        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         □        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         □        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         □        Schedule H: Codebtors (Official Form 206H)

         □        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         □        Amended Schedule

         □        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
                  Are Not Insiders (Official Form 204)

                  Other document that requires a declaration List of Equity Security Holders


         I declare under penalty of perjury that the foregoing is true and correct to                      ation and belief.

         Executed on        07/27/2020                           X
                           MM/DD/YYYY

                                                                           Ken D'Arcy
                                                                           Printed name

                                                                           Chief Executive Officer
                                                                           Position or relationship to debtor




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